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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


                                                        )
  CRAIG HICKS, individually and on behalf of            )
  all others similarly situated,                        )
                                                        )
                          Plaintiff,                    )
                                                        )
                  v.                                    )          Case No. 1:20-cv-00532-LO-MSN
                                                        )
  ALARM.COM INC., a Delaware                            )
  Corporation,                                          )
                                                        )
                          Defendant.                    )

                           DECLARATION OF A. PAUL HEERINGA

        I, A. Paul Heeringa, hereby declare the following to be true pursuant to 28 U.S.C. § 1746,

 stating as follows:

        1.      I submit this Declaration in support of Defendant’s Reply in Support of its Motion to

 Dismiss or Strike filed concurrently herewith in the above-captioned matter (“Action”). I am over

 18 years old, have personal knowledge of the facts stated herein and below, and could and would

 competently testify thereto if called upon to do so.

        2.      I am Counsel at the law firm of Manatt, Phelps & Phillips LLP. My office is located

 at 151 N. Franklin Street, Suite 2600, Chicago, Illinois 60606.

        3.      I am counsel of record for Defendant Alarm.com (“Defendant”) in the Action,

 appearing pro hac vice. I am admitted to practice in the state of Illinois and before various federal

 courts, and am in good standing in all jurisdictions where I am admitted.

        4.      Attached hereto as Exhibit A is a true and correct copy of a screenshot of the third

 party website cited in paragraph 19 of Plaintiff’s Complaint and referred to in Plaintiff’s Opposition

 to Defendant’s Motion, specifically https://directory.youmail.com/directory/phone/9545079334. I


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 personally downloaded this Exhibit from the internet.

        5.      Attached hereto as Exhibit B is a true and correct copy of the version of Va. Code

 Ann. § 59.1-515, which was in effect at the time Plaintiff filed his Complaint. This Exhibit was

 personally downloaded by me from Westlaw.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct to the best of my knowledge.



  Executed on July 22, 2020
  in Downers Grove, Illinois
                                             By:
                                                   A. Paul Heeringa




                                                   2
